                              Summary of Additional Employment Agreement Projects Where Commission Was Calculated Using Improper Overhead
                                                          (Discovered During Evaluation of Current Cost Accounting)



                                                                                       Per Job Cost Detail Reports:
                              Amount Received     Costs Charged to                                                                              Total
                                 from Client            Client         Cost Code     Cost Code     Cost Code Cost Code       Cost Code     of Referenced
 Project Name    Job Number     (Trial Ex. 81)      (Trial Ex. 81)       1115          1415          1443         1430         9999         Cost Codes           30% of Total       Exhibits
MEN-MAN         12MEN-021     $    4,407,342.38   $    4,413,655.47   $ 2,794.00   $     611.05   $ 18,088.02 $        -    $ 6,157.20    $      27,650.27   $        8,295.08   Trial Ex. 1012
KRO ROC         13KROG-003    $    4,407,099.45   $    4,291,117.35   $ 5,506.00   $ 1,637.57     $ 32,363.33 $ 5,581.35 $ 47,519.36      $      92,607.61   $       27,782.28   Trial Ex. 1013
KRO FAM         14KROG-007    $      789,785.80   $      754,172.43   $ 2,000.00   $      31.86   $ 10,149.74 $ 906.03 $ 15,262.88        $      28,350.51   $        8,505.15   Trial Ex. 1014
KRO STE         14KROG-017    $    4,217,718.47   $    4,025,121.07   $ 3,076.00   $ 6,302.71     $ 4,056.57 $         -    $ 82,541.74   $      95,977.02   $       28,793.11   Trial Ex. 1015
MEN-JAM         14MEN-001     $ 11,364,772.25     $ 10,613,082.43     $ 8,925.00   $ 1,272.65     $ 26,432.67 $ 8,743.85 $322,152.78      $    367,526.95    $      110,258.09   Trial Ex. 1016
                                                                                                             Subtotal to be Added Back:   $    612,112.36    $      183,633.71




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                                                      Trial Exhibit 146 | Page 1 of 1
